       Case 5:21-cv-03234-SAC Document 3 Filed 09/29/21 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

CRAIG IVAN GILBERT,

                                Petitioner,

              v.                                       CASE NO. 21-3234-SAC

SAM CROW,


                                Respondent.


                               ORDER OF DISMISSAL

        This matter is a petition for habeas corpus filed under 28 U.S.C.

§ 2254. The court has conducted an initial review of the petition under

Rule 4 of the Rules Governing Section 2254 Cases in the United States

District Courts. Under Rule 4, a court is directed to promptly examine

a petition and “[i]f it plainly appears from the petition and any

attached exhibits that the petitioner is not entitled to relief in

the district court, the judge must dismiss the petition….” For the

reasons that follow, the court concludes summary dismissal of the

petition is warranted.
                                   Background

        The petition states that petitioner is in custody under three

actions decided by the undersigned: (1) Case No. 21-3113-SAC, State

of Kansas v. Gilbert; (2) Case No. 21-3149-SAC, Gilbert v. State of

Kansas, et al.; and (3) Case No. 21-3156-SAC, Gilbert v. Social

Security Commission. The first action is a petition for removal, in

which petitioner sought to remove the criminal charges pending in the

District Court of Saline County; this court rejected the request and
remanded the case to state court1, where it remains pending. The second

1   Case No. 2021-CR-000271, Dist. Ct. of Saline Co.
    Case 5:21-cv-03234-SAC Document 3 Filed 09/29/21 Page 2 of 2




action is a petition filed under 28 U.S.C. § 2241, which was dismissed

due to petitioner’s failure to submit the petition on court-approved

forms or supply financial information. The third action sought to

remove a third-party payee for petitioner’s Social Security benefits;

the action was dismissed after petitioner failed to show he had pursued

administrative remedies before commencing the action.

                                 Analysis

     A petition for habeas corpus filed under 28 U.S.C. § 2254 is a

remedy for “a person in custody pursuant to the judgment of a State

court”. 28 U.S.C. § 2254(a). Petitioner has not shown that he is

subject to such a judgment, as the state charges against him remain

pending.   His reliance on the three federal civil cases he cites is

misplaced.

     In addition, the 34-page petition asserts bare claims of

kidnapping, human trafficking, and false imprisonment, although it

is unclear when, where, or how this occurred. Other allegations, such

as the loss of petitioner’s business reputation, do not support any

apparent claim that would be properly raised in a petition under §
2254.

     The court concludes this petition must be dismissed.

     IT IS, THEREFORE, BY THE COURT ORDERED the petition for habeas

corpus is dismissed. No certificate of appealability will issue.

     IT IS SO ORDERED.

     DATED:   This 29th day of September, 2021, at Topeka, Kansas.



                                  S/ Sam A. Crow
                                  SAM A. CROW
                                  U.S. Senior District Judge
